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From: Joyce Siniff <
Date: Thu, Feb 18, 2021 at 8:57 PM
Subject: Re: Testing
To: 4lifejackhammer <


To whom it concerns, I am writing to you about,Jessica Marie Watkins. She
was introduced to my husband and I about four years ago. In the course of
that time, she has become a member of our family. She is my oldest
son's partner in life and we love her. Jess has a passion for business and we
are impressed with her and my son's ability to turn a neglected bar into a
manageable business, even during these trying times. Jess is also very
passionate about our country and helping others. I have always considered her
a compassionate, caring, and responsible individual.Her recent discrepancies,
should not distract from all that Jess has accomplished in life.
   Respectfully, Joyce R Siniff
